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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

PRINCE SAYON LENARD SCOTT,                  )
                                            )
             Plaintiff,                     )
                                            )
      v.                                    )    CASE NO. 2:19-CV-565-WKW
                                            )
Ms. D. ALLISON, Kilby Correctional          )
Facility Classifications Specialist, and    )
Mr. MIKE, Kilby Correctional                )
Facility Prison Religious Coordinator       )
and Director,                               )
                                            )
             Defendants.                    )

                                      ORDER

      On February 14, 2022, the Magistrate Judge filed a Recommendation (Doc. #

18) to which no timely objections have been filed. Upon an independent review of

the record and upon consideration of the Recommendation, it is ORDERED as

follows:

      1.     The Magistrate Judge’s Recommendation (Doc. # 18) is ADOPTED.

      2.     This case is DISMISSED without prejudice.

      A final judgment will be entered separately.

      DONE this 7th day of March, 2022.

                                                 /s/ W. Keith Watkins
                                           UNITED STATES DISTRICT JUDGE
